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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                v.                            :       CRIMINAL NO. 21-cr-399 (RDM)
                                              :
ROMAN STERLINGOV,                             :
                                              :
                        Defendant.            :

                GOVERNMENT’S RESPONSE TO DEFENDANT’S
         MOTION TO COMPEL PRODUCTION OF CONTACT INFORMATION

         The United States of America respectfully informs the Court that the Defendant’s Motion

To Compel Production of Investigating Agent Devon Beckett’s Contact Information, ECF No.

227, is moot, as the government has furnished defense counsel with former Agent Beckett’s

address so that they may serve a trial subpoena for her testimony pursuant to Fed. R. Crim. P.

17(d).

         Former Agent Beckett is not a witness the government intends to call in its case-in-chief.

As the defense motion acknowledges, the government has never once opposed defense efforts to

subpoena and call former Agent Beckett as a witness in the defense case. The defense arguments

regarding the Compulsory Process Clause and Confrontation Clause are therefore misplaced.

         While Agent Beckett was employed by the government, the government accepted service

of process on her behalf as a courtesy to the defense team.            In between the September

continuance—a continuance made at the defendant’s request, over the government’s objection—

and the rescheduled trial date in February 2024, Agent Beckett medically retired from federal

employment.

         At the time of the defense requests, former Agent Beckett had not authorized the release of

her contact information to the defense. Former Agent Beckett has now done so, and her address
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has been conveyed to the defense for service of a trial subpoena. The defense motion to compel

should be denied as moot.


                                           Respectfully submitted,
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